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         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                       22-1864
                                   No. __________________
Consumer Financial Protection Bureau          National Collegiate Master Student Loan Trust, et al.
________________________________ vs. ______________________________


               March 24, 2023
Calendar Date _______________                         Philadelphia, PA
                                             Location _____________________


        ACKNOWLEDGMENT AND DESIGNATION OF ARGUING COUNSEL


                         Jonathan Y. Ellis
Receipt acknowledged by: __________________________________________
                                Jonathan Y. Ellis
Designation of Arguing Counsel: ____________________________________

Member of the Bar:           ✔
                          ________ Yes                ________ No

Representing (check only one):

________ Petitioner(s)           ✔
                              ________ Appellant(s)            ________ Intervenor(s)


________ Respondent(s)       ________ Appellee(s)              ________ Amicus Curiae


Please list the name of the lead party being represented:
National Collegiate Master Student Loan Trust
______________________________________________________________




ONLY COUNSEL WHO ARE MEMBERS OF THE BAR OF THE COURT OF APPEALS
FOR THE THIRD CIRCUIT AND WHO FILED AN APPEARANCE ARE PERMITTED TO
ARGUE BEFORE THE COURT. (BAR ADMISSION IS WAIVED FOR FEDERAL
ATTORNEYS.)
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                        CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2023, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Third Circuit using the

appellate CM/ECF system, which will also serve counsel of record.

                                           /s/ Jonathan Y. Ellis
                                           Jonathan Y. Ellis
